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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: KATRINA CANAL                      *    CIVIL ACTION NO. 05-4182
BREACHES CONSOLIDATED                     *
LITIGATION                                *           SECTION K
                                          *
This relates to:                          *         MAGISTRATE 2
NOS. 05-4181                              *
       06-1885                            *   JUDGE STANWOOD DUVAL
       06-4024                            *
       06-4389                            * MAGISTRATE JUDGE WILKINSON
       06-5771                            *
       06-5786                            *
       07-0206                            *
       07-3500                            *
       07-3612                            *
       07-5023                            *
       07-5040                            *
                                        ORDER

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion

to Enroll as Counsel of Record filed by Kevin P. Klibert on behalf of Daniel E. Becnel,

Jr. is GRANTED.

       SO ORDERED IN NEW ORLEANS, LOUISIANA this ___ day of

______________________, 2008.




                                            JUDGE STANWOOD DUVAL
